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United States District Court .,
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UNITED sTArEs oF AMERICA BY mm

v. coMPLAINT

ARMANDO AvirlA, JR_ CAsE NUMBER; 31 1a m', o '1 n '/5"'

I, the undersigned complainant being duly sworn state the following is true and correct to
the best of my knowledge and belief. On or about February 21, 2019, in the Dallas Division of
the Northern District of Texas, defendant ARMANDO AVITIA, JR., did,

knowingly and intentionally possessing With the intent to distribute one (l) kilogram or more

of a mixture or substance containing a detectable amount of heroin, a Schedule I controlled

Substan@e,
in violation of Title 21, United States Code, Section 84l(a)(l) and (b)(l)(A).

l further state that I arn a Special Agent With the Drug Enforcement Adrninistration and
that this complaint is based on the following facts:

See attached Affidavit of DEA SA J ames A. Henderson, Which is incorporated and made
a part hereof by reference.

Continued on the attached sheet and made a part hereof: )_{X Yes No

 

Signature of Complainant
lames A. Henderson
SA, DEA

 

  
  

SWorn to before me and subscribed in my presence, o' `. ebrua ry 22, 2019, at

Dallas, Texas. fly ft
d

RENEE HARRIS TO_LIVER
UNITED STATES MAGISTRATE JUDG-
Name & Title of Judicial Officer

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AFFIDAVIT OF SPECIAL AGENT JAMES HENDERSON IN SUPPORT OF
APPLICATION FOR ARREST WARRANT

I, J ames A. Henderson Jr., a Special Agent with the Drug Enforcement
Administration, being duly sworn, state as follows:
AFFIANT’S EXPERIENCE
Your Affiant has been employed as a Special Agent with Drug Enforcernent
Administration since 1995. l am currently assigned to the DEA Dallas Field Office. As
part of my official duties, l have been involved in numerous drug trafficking
investigations, including gang and firearms related investigations l have training and
experience in the execution of search and arrest warrants, Title Ill investigations, and the
debriefing of defendants, informants, and witnesses I have received training regarding
the manner in which drug traffickers obtain, finance, manufacture, transport, store, and
distribute illegal drugs. I am familiar with the methods utilized by drug traffickers to
conduct their business. l have utilized various investigative techniques including
physical surveillance, undercover operations, the use of confidential informants, and wire
intercepts. Further, i have participated in numerous interviews with defendants,
confidential inforrnants, witnesses, and others involved in illegal drug activity.
PURPOSE OF AFFIDAVIT
This affidavit is made in support of an application for a criminal complaint for

Armando AVITIA, Jr.

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THE INVESTIGATION ~ FACTUAL BACKGROUND

Because this affidavit is being submitted for the limited purpose of establishing
probable cause for a criminal complaint, l have not included each and every fact known
to me concerning this investigation l have set forth facts that l believe are necessary to
establish probable cause of a violation of federal criminal offense, specifically 21 U.S.C.
§ 841(a)(l) and 841 (b)(l)(A).

PROBABLE CAUSE

In February of 2019, the Grand Prairie Police Department Narcotics Unit (GPPD)
received information of a location within the city limits of Grand Prairie that was
distributing ounce quantities of heroin. The GPPD was provided a partial name of the
suspect, general location, vehicle description, and a photograph Through investigation
efforts, GPPD identified the suspect as Armando AVITIA, Jr., and positively identify
AVITIA’s residence as 145 Pioneer Parkway #1007, Grand Prairie, Dallas County,
Texas.

On February 20, 2019, GPPD conducted surveillance of AVITIA’s residence
During the surveillance GPPD observed a vehicle arrive at the residence The driver of
the vehicle entered the residence and stayed for approximately 10 minutes GPPD
surveilled the vehicle once it departed the residence A GPPD undercover vehicle was
able to travel adjacent to the vehicle and GPPD Detectives operating the undercover
vehicle could detect the distinct odor of burning marijuana emitting from the vehicle

'l` he odor of burnt marijuana was confirmed as detectives began to travel behind the

vehicle

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A GPPD marked patrol unit initiated a traffic stop of the vehicle Upon making
contact with the occupants of the vehicle, the GPPD officer conducting the traffic stop
immediately detected the odor of marijuana A probable cause search of the vehicle was
conducted and a tied/sealed sandwich bag, containing a green leafy substance (marijuana)
was located Upon further investigation, GPPD received information from an occupant
of the vehicle that the marijuana was recently purchased at AVITIA’s residence

Based on the facts and observations of their investigation, GPPD obtained a search
warrant for AVITIA’s residence Dallas County Magistrate Judge Bryan S. Arnold
signed the search warrant on February 21, 2019.

On February 21, 2019, approximately 6:32 p.m., GPPD executed the search
warrant at the AVITIA residence, 145 Pioneer Parkway #1007, Grand Prairie, Dallas
County, Texas. During the search of AVITIA’s residence, GPPD seized approximately
3.6 pounds of heroin, along with other controlled substances in distributable quantities,
and multiple firearms GPPD field tested the heroin with positive results.

On audio/video, GPPD Detective Adrian Renteria advised AVITlA of his rights,
per Miranda. AVlTlA stated he understood and consented to be interviewed AVlTlA
admitted the heroin seized from his residence belonged to him. AVITIA further stated
that his wife had no involvement in narcotics trafficking

On February 2l, 2019, approximately 10:00 p.m., Detective Renteria, DEA Task
Force Officer .lustin Quinn, and l interviewed AVITIA at the Grand Prairie Police
Department. The interview was audio recorded AVITIA was reminded of his rights, per

Mz`randa. AVITIA consented to be interviewed AVITIA confirmed the heroin seized

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from his residence was his. AVITIA further admitted to selling street level amounts of
heroin.

Based on the information set forth in the application, l believe that there is
probable cause to believe that Armando AVITIA, Jr., did knowingly and intentionally
possess with intent to distribute more than l kilogram of a mixture or substance
containing a detectable amount ofheroin, in violation of 2l U.S.C. § 84l(a)(l) and

841(b)(l)(A).

 

J ames A. Henderson Jr.
Special Agent
Drug Enforcement Administration

Sworn and subscribed to me thi@

 
     

 

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Nor@e});n District of Texas

